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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                     v.                   )      No. 2:20 CR 84
                                          )
DWAYNE CRAWFORD                           )

                                 OPINION and ORDER

       Defendant Dwayne Crawford, who is facing a charge of illegally possessing a

firearm as a felon, moved to suppress evidence recovered during a traffic stop. (DE #

47.) Pursuant to 28 U.S.C. § 636(b)(1)(B), the court referred this matter to Magistrate

Judge Andrew P. Rodovich, who held an evidentiary hearing (DE # 57) and issued a

Report and Recommendation (DE # 59), in which he recommended that this court grant

the motion to suppress. The Government filed a timely objection to the Report and

Recommendation. (DE # 72.) Defendant responded. (DE # 76.)

       When a party files a timely objection to a magistrate judge’s report and

recommendation, the district judge – giving deference to the magistrate judge’s findings

of fact and credibility determinations – must make a de novo determination of those

portions of the report or specified proposed findings or recommendations to which

objection is made. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(3). But a de novo

determination is not the same as a de novo hearing; the district court is not required to

conduct another hearing to review the magistrate judge’s findings or credibility

determinations. Goffman v. Gross, 59 F.3d 668, 671 (7th Cir. 1995).
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       The court now accepts and adopts the following relevant factual findings from

Magistrate Judge Rodovich’s Report and Recommendation which, unless otherwise

stated, are undisputed.

       On January 22, 2020, Officer Alexander Reillo of the Munster Police Department

was on routine patrol in his squad car, which was equipped with a dash cam. The dash

cam would automatically activate when the officer turned on his sirens and lights; an

officer could also manually activate the dash cam. Once the dash cam was activated, it

saved the recording starting at 30 seconds before activation.

       On that same day, defendant was riding in the front passenger seat of a leased

gray sedan. Robert Thompson was driving the car, while Vanessa Jeffries rode in the

back seat. Another individual was named on the lease. Neither Thompson nor either

passenger had a valid license.

       Officer Reillo testified that, as he was heading southbound on the 8000 block of

Calumet Avenue, he noticed the gray sedan make two unsafe lane changes as it

proceeded northbound on the same road. Officer Reillo testified that he made a U-turn

without activating his lights and proceeded northbound. This action was not preserved

by the dash cam. Next, in the right northbound lane, one car slowed down for traffic

two or three car lengths behind the car in front of it. Without signaling, the gray sedan

moved from the left lane into the two or three car length space in the right lane. Officer

Reillo activated his sirens and lights, which preserved the prior 30 seconds that the dash

cam had recorded, including the gray sedan’s maneuver from left lane to right lane.

Officer Reillo’s incident report indicated that he observed the gray sedan make “several

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unsafe lane changes.” In a second incident report, he again stated that the sedan made

“several unsafe lane changes.” In neither report did Officer Reillo state that he was

initially traveling southbound and made a U-turn.

       Crawford attested to a different version of the events. He claims that he first saw

Officer Reillo in the Arnie’s Parking lot waiting for northbound traffic to clear. He

claims that he made eye contact with Officer Reillo and then watched him in the

rearview mirror. He noticed that Officer Reillo had pulled out of the Arnie’s parking lot

to follow them. Officer Reillo denied that he was parked at Arnie’s, but also testified he

could not remember exactly where he made his U-turn and conceded that he may have

used the Arnie’s parking lot.

       Ultimately, Officer Reillo stopped the gray sedan and a search later ensued.

Defendant moved to suppress evidence regarding the loaded handgun that was

eventually recovered from the vehicle. Defendant claimed that the stop was racially

motivated and extended an impermissible duration of time. Magistrate Judge Rodovich

held an evidentiary hearing (DE # 57), at which both Officer Reillo and defendant

testified.

       Magistrate Judge Rodovich found that Officer Reillo and defendant’s testimony

could not be reconciled and that a credibility determination was required. Magistrate

Judge Rodovich stated that Officer Reillo’s testimony was “inconsistent” with his two

incident reports, and that dash cam video “raise[d] doubts concerning the true

motivation for the stop.” (DE # 59 at 11.) Magistrate Judge Rodovich held that the

Government had the burden to prove that the stop was not racially motivated, and had

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failed to meet that burden. However, Magistrate Judge Rodovich also determined that

the length of the detention was reasonable. Magistrate Judge Rodovich recommended

that the court grant defendant’s motion to suppress.

       The court has reviewed Magistrate Judge Rodovich’s findings de novo, and

disagrees with the legal standard applied in the Report and Recommendation with

respect to the propriety of the stop itself. According to the Report and

Recommendation, a racially-motivated traffic stop warrants application of the

exclusionary rule to any incriminating evidence uncovered as a result of the stop. (See

DE # 59 at 11-13.) This legal recommendation is rooted in the guarantees of the Equal

Protection clause. (See id. at 11, citing Conley v. United States, 5 F.4th 781, 788 (7th Cir.

2021)). However, neither the Supreme Court nor the Seventh Circuit Court of Appeals

has authorized remedying an Equal Protection violation by application of the

exclusionary rule. See United States v. Armstrong, 517 U.S. 456 n.2 (1996) (noting that the

Court has “never determined whether dismissal of the indictment, or some other

sanction, is the proper remedy if a court determines that a defendant has been the

victim of prosecution on the basis of his race”); United States v. Nichols, 512 F.3d 789, 794

(6th Cir. 2008) (“[W]e are aware of no court that has ever applied the exclusionary rule

for a violation of the Fourteenth Amendment’s Equal Protection Clause”); Brooks

Holland, Racial Profiling and A Punitive Exclusionary Rule, 20 Temp. Pol. & Civ. Rts. L.

Rev. 29, 30 (2010) (advocating for the application of the exclusionary rule in the equal

protection context, but noting that “[t]he Supreme Court, however, has not determined



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whether an equal protection violation implicates the traditional criminal procedure

remedy: the exclusionary rule.”).

       Rather, the exclusionary rule was created to disallow the introduction of

evidence obtained in violation of the Fourth Amendment. United States v. Matthews, 12

F.4th 647, 652 (7th Cir. 2021), cert. denied, 142 S. Ct. 1212 (2022) (“The exclusion of

evidence for a violation of the Fourth Amendment is a judicial remedy intended to

deter police misconduct and thereby protect Fourth Amendment rights.”). Under well-

established Fourth Amendment jurisprudence, an officer’s actions are reviewed under

an objective standard, with no weight given to the officer’s subjective intentions – even

motivations related to race. Whren v. United States, 517 U.S. 806, 813 (1996); United States

v. Cole, 21 F.4th 421, 428 n.2 (7th Cir. 2021), cert. denied, 142 S. Ct. 1420 (2022)

(reaffirming objective test for Fourth Amendment violations, and noting that changing

that standard “is an issue for the Supreme Court, not us”). Thus, Officer Reillo’s actual

motivations for initiating the traffic stop are irrelevant in the context of the Fourth

Amendment.

       “Only reasonable suspicion of a traffic violation—not probable cause” is required

to initiate a traffic stop, Cole, 21 F.4th at 427, and so long as there exists an “objective

basis” for that reasonable suspicion, the traffic stop does not offend the Fourth

Amendment. United States v. Lewis, 920 F.3d 483, 489 (7th Cir. 2019). In this case, it is

undisputed that the dash cam recorded an improper lane change in violation of Indiana

law. See Ind. Code § 9-21-8-49 (“A signal of intention to turn right or left shall be given

continuously during not less than the last two hundred (200) feet traveled by a vehicle

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before turning or changing lanes.”). This infraction alone, recording on the dash cam,

constituted an objective basis for a reasonable suspicion that a traffic violation occurred.

       Accordingly, the court need not delve into Magistrate Judge Rodovich’s

credibility findings regarding Officer Reillo, nor must it address any other possible

infractions. United States v. Williams, 627 F.3d 247, 250-51 (7th Cir. 2010) (affirming

district court’s decision to: (1) discredit officer’s testimony regarding alleged seat belt

violation as purported rationale for traffic stop, and (2) nonetheless find alternative

basis for stop); United States v. Martin, 360 F. App’x 686, 689 (7th Cir. 2010) (holding

officer had “independent basis for the stop” regardless of other reason given); see also

United States v. Cervantes, 19 F.3d 1151, 1153 (7th Cir. 1994) (“[I]f the government has a

right . . . to search . . . and does so, one has no right to complain even if the ostensible

ground for the search was different and improper.”).

       In his initial motion to suppress, defendant also briefly argued that Officer Reillo

unreasonably extended the duration of the traffic stop. (DE # 47 at 6.) In his Report and

Recommendation, Magistrate Judge Rodovich recommended that this court conclude

that the length of the detention was reasonable. (DE # 59 at 13.) No party has objected to

this recommendation or the underlying reasoning, so the court now accepts and adopts

it. Defendant did not argue that the remainder of the search violated his rights, so the

court need not go any further.




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      For the foregoing reasons, the court ACCEPTS in part, and REJECTS in part

Magistrate Judge Rodovich’s Report and Recommendation (DE # 59) pursuant to 28

U.S.C. § 636(b)(1)(C), and DENIES defendant’s motion to suppress (DE # 47).

                                       SO ORDERED.

      Date: July 8, 2022

                                        s/ James T. Moody
                                       JUDGE JAMES T. MOODY
                                       UNITED STATES DISTRICT COURT




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